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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
In re Application of
PIRAEUS BANK
for an Order Directing Discovery from The Bank of New              Case No. 20 Misc. ___
York Mellon, Citibank N.A., HSBC Bank (USA) N.A., and
JP Morgan Chase Bank N.A. Pursuant to 28 U.S.C. § 1782

EX PARTE PETITION OF PIRAEUS BANK FOR JUDICIAL ASSISTANCE IN AID OF
          A FOREIGN PROCEEDING PURSUANT TO 28 U.S.C. § 1782

       Pursuant to 28 U.S.C. § 1782, Piraeus Bank (“Piraeus” or “Petitioner”) respectfully

submits this Petition seeking an Order permitting it to issue subpoenas for the production

of documents to The Bank of New York Mellon (“BNYM”), Citibank N.A. (“Citibank”), HSBC

Bank (USA) N.A. (“HSBC”), and JP Morgan Chase Bank N.A. (“JP Morgan”) (collectively,

“Respondents”) that will assist in foreign legal proceedings pending in the courts of England.

The proposed forms of the subpoenas duces tecum are attached hereto as Exhibits A-D.

I.     PETITIONER’S PURPOSE FOR SEEKING SECTION 1782 DISCOVERY

       1.      Petitioner is an interested party in a pending foreign proceeding and respectfully

requests that this Court permit it to issue subpoenas for the production of documents to

Respondents, all of which are entities that are found in this district. (Hewetson Decl. ¶ 4.)

       2.      Petitioner requires the requested discovery in connection with a foreign

legal proceeding that is currently pending before the Queen’s Bench Division of the High Court

of Justice, within the Commercial Court (the “English Court”) styled as Piraeus Bank v. Grand

Anemi Limited, Grandunion Inc., and Michail (Michael) Zolotas, Case No. CL-2019-000129

(the “English Proceeding”). (Id. ¶ 1.)

       A.      THE PARTIES IN THE ENGLISH PROCEEDING

       3.      Petitioner is the Claimant in the English Proceeding. (Id. ¶ 8.) Petitioner is, and

was at all relevant times, a banking institution duly incorporated and existing under the laws of

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Greece, with its registered office at 4 Amerikis Street, 10564, Athens, Greece. (Id.)

       4.      The Defendants in the English Proceeding are Grand Anemi Limited

(“Grand Anemi”), Grandunion, Inc. (“Grandunion”), and Michail (Michael) Zolotas (“Zolotas”)

(collectively, the “English Defendants”). (Id. ¶ 9.)

       5.      Grandunion is, and was at all relevant times, a company duly organized and

existing under the laws of the Republic of the Marshall Islands, with its last known registered

office at Trust Company Complex, Ajeltake Islands, Ajeltake Road, Majuro MH9660, the

Republic of the Marshall Islands. (Id. ¶ 10.) Zolotas formed Grandunion in 2007 and the

company was in the business of owning and managing shipping vessels. (Id.) Grandunion was

dissolved on August 11, 2016; however, by the operation of Section 105(a) of the Marshall

Island’s Business Corporations Act, Grandunion continued to exist for, among other things, the

purpose of defending any action, suit, or proceeding brought against it within three years of the

dissolution. (Id. & Ex. 8)

       6.      Grand Anemi is, and was at all relevant times, a company duly organized and

existing under the laws of the Republic of Malta, with its last known registered office at

198 Old Baker Street, Valletta, VLT 1455, Malta. (Id. ¶ 11.) Grand Anemi is a subsidiary of

Grandunion and was in the business of owning and managing shipping vessels.                 (Id.)

Upon information and belief, Grand Anemi has ceased its business and either is insolvent or

has been dissolved. (Id.)

       7.      Zolotas is a Greek national with a last known address at Chateau Perigord,

6 B (Flat 128) Lacets Saint Leon 98000 Monaco. (Id. ¶ 12.) Zolotas was in the business of,

among other things, operating and managing a fleet of shipping vessels. (Id.) As of 2006,

Zolotas operated and managed a fleet of shipping vessels through an entity that he controlled

named Stamford Navigation Inc., which was incorporated in Liberia but operated from Greece.
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(Id.) Thereafter, his business was transferred to and run through a vertically integrated shipping

enterprise named Newlead Holdings Limited, which was incorporated in Bermuda and listed on

the NASDAQ stock exchange between December 2009 and July 2014. (Id.)

       B.      SUMMARY OF RELEVANT FACTS

       8.      On or around August 28, 2009, Marfin Egnatia Bank Societe Anonyme

(“Marfin Egnatia” or “Lender”) and certain of the English Defendants entered into three loan

agreements: (i) a Financial Agreement between Marfin Egnatia, as Lender, and Grand Anemi

and another company named Grand Rodosi Inc. (“Rodosi”), as Borrowers (“Loan Agreement”);

(ii) a Guarantee and Indemnity     between Marfin Egnatia, as Lender, and Grandunion,

as Guarantor ( “Grandunion Guarantee”); and (iii) a Personal Guarantee between Marfin Egnatia,

as Lender, and Zolotas, as Guarantor (“Zolotas Guarantee”). (Id. ¶ 13 & Exs. 5-7.)

       9.      Pursuant to the Loan Agreement, Marfin Egnatia agreed to make available to

Grand Anemi and Rodosi a revolving credit facility in an amount up to USD 112 million

for certain specified purposes, namely: (i) up to USD 89.5 million for the refinancing of certain

outstanding debt under the company’s existing financial agreements; and (ii) certain

additional amounts for working and investment capital. (Id. ¶ 14 & Ex. 5 at §§ 1(A), 3.1.)

       10.     In connection with the Loan Agreement, Grand Anemi and Rodosi agreed to

various undertakings, including, as relevant here, that they would: (i) use the loan proceeds in

accordance with and for the purposes specified in the Loan Agreement (id. at §§ 3.2, 19.23); (ii)

not make any loans or advances to, or any investments in, any person, firm, corporation or joint

venture (id. at § 19.6); (iii) not borrow any money or permit any such borrowing to continue or

incur any indebtedness whatsoever (id. at § 19.7); and (iv) not, and would ensure that

Grandunion and Zolotas would not, without Lender’s prior written consent, dispose of or

otherwise transfer the Ships (being two bulk carriers owned by Grand Anemi and Rodosi)
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or other property, assets or rights owned by them, Grandunion, or Zolotas. (Id. at § 19.17.)

Grand Anemi and Rodosi also agreed that they would promptly notify the Lender of any

Event of Default or matter that might lead thereto (id. at § 19.13), which would include,

among other things, a transfer or disposal by them, Grandunion, or Zolotas of all or a substantial

part of their assets whether by one or a series of transactions, related or not. (Id. at § 24.1.8.)

        11.     Pursuant to the Grandunion Guarantee and Zolotas Guarantee, Grandunion and

Zolotas agreed that they would: (i) irrevocably and unconditionally guarantee the due and

punctual payment by Grand Anemi and Rodosi of their obligations under the Loan Agreement;

and (ii) discharge the indebtedness of Grand Anemi and Rodosi under the Loan Agreement from

time to time when demanded by the Lender together with interest, costs, fees and other expenses.

(Id. ¶ 16 & Ex. 6 at § 4.1; Ex. 7 at § 4.)

        12.     Additionally, in connection with the Grandunion Guarantee and Zolotas

Guarantee, Grandunion and Zolotas each agreed to various undertakings, including, as relevant

here, that: (i) they would comply, and ensure that each of Grand Anemi, Rodosi, and

Zolotas/Grandunion (as applicable) would comply, with all covenants and undertakings set out in

the Loan Agreement (id. ¶ 17 Ex. 6 at § 8.1.3; Ex. 7 at § 8.3), which included the covenants and

undertakings not to transfer, dispose of, or otherwise deal with other property, assets or rights

owned by them (id. Ex. 5 at §§ 19.17, 24.1.8); (ii) they would promptly notify the Lender of any

Event of Default or matter that might lead thereto, and of any occurrence of which it becomes

aware which might adversely affect their ability or the ability of Grand Anemi, Rodosi, and

Zolotas/Grandunion (as applicable) to perform and discharge their duties and obligations to

Lender (id. Ex. 6 at § 8.2.3); (iii) they had not taken, and would not take without the prior written

consent of the Lender, any security from Grand Anemi, Rodosi, or Zolotas/Grandunion (as

applicable) (id. Ex. 6 at § 8.3); and (iv) until all amounts due under the Loan Agreement were
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paid in full, they would not demand or accept repayment in whole or in part of any loans or

advances due from Grand Anemi or Rodosi. (Id. Ex. 6 at § 15.2.1; Ex. 7 at § 15.2.1)

       13.     Following the execution of the Loan Agreement, the Grandunion Guarantee, and

the Zolotas Guarantee, Marfin Egnatia performed its obligations under the Loan Agreement

by making available the revolving credit facility, and Grand Anemi drew on the facility in the

cumulative amount of € 120,424,892.70, including € 109,195,785.14 on August 28, 2009 and

€ 11,299,107.56 on August 26, 2010. (Id. ¶ 18.)

       14.     On or around March 31, 2010, Marfin Egnatia, Grand Anemi, and Rodosi

executed a side letter pursuant to which Marfin Egnatia agreed to release Rodosi from its

obligations under the Loan Agreement and other finance documents to which it was a party.

(Id. ¶ 19.) This side letter in favor of Rodosi did not effect a release of Grand Anemi from its

obligations under the Loan Agreement, nor did it release Zolotas and Grandunion from their

respective guarantees.

       15.     Between September 2, 2009 and July 30, 2012, Grand Anemi made €

71,425,512.53 in repayments pursuant to the Loan Agreement, including in respect of capital,

fees, expenses, and interest (often at a penalty rate). (Id. ¶ 20 & Ex. 10.) Significantly, part of

the capital was repaid prior to the second drawdown on August 26, 2010 (which is why the

cumulative drawdown amount exceeds the USD 112 million that was made available under the

Loan Agreement). (Id.)

       16.     In or around March 2011, Marfin Egnatia was acquired by Marfin Popular Bank

Public Co. Ltd. (“Marfin Popular”). (Id. ¶ 21.) Approximately one year later, on or around

April 5, 2012, Marfin Popular changed its name to Cyprus Popular Bank Public Co. Ltd.

(“Cyprus Popular”). (Id.)

       17.     After July 30, 2012, Grand Anemi ceased paying interest due pursuant to Clause
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7.1 of the Loan Agreement, and also failed to pay a renewal fee due pursuant to Clause 26.1 of

the Loan Agreement. (Id. ¶ 22.)

       18.     By email dated February 26, 2013, Cyprus Popular demanded payment of the

overdue interest and the renewal fee by close of business Athens time on February 28, 2013,

but no payment was made. (Id. ¶ 23.)

       19.     By letter dated March 1, 2013 (sent by hand and by fax), Cyprus Popular notified

Grand Anemi and Grandunion that: (i) they were in breach of the Loan Agreement; (ii) such

breaches constituted an Event of Default; and (iii) the facility therefore was cancelled and/or had

expired, and the “[i]ndebtedness [in the total amount of USD 59,846,742.53] is immediately due

and payable.” (Id. ¶ 24 & Ex. 11.)

       20.     In or around early 2013, during the Cypriot financial crisis, Cyprus Popular

was restructured in a process that was overseen by the governments of Greece and Cyprus.

(Id. ¶ 25.) As part of that process, specific assets of Cyprus Popular relating to its Greek

business were sold to Petitioner, including the rights under the Loan Agreement, the Grandunion

Guarantee, and the Zolotas Guarantee. (Id.) The sale took effect by the following instruments:

(i) a Sale and Transfer Agreement dated March 26, 2013 between Cyprus Popular and Piraeus;

(ii) Decree No. 97/26-3-2013 of the Central Bank of Cyprus; and (iii) Decision No. 66/26-3-2013

of the Bank of Greece. (Id. ¶ 25 & Exs. 12-14.)

       21.     Thus, on March 26, 2013, Petitioner became a special successor to Cyprus

Popular and succeeded to all of the rights and obligations of Marfin Egnatia and Cyprus Popular

set out in the Loan Agreement, the Grandunion Guarantee, and the Zolotas Guarantee. (Id. ¶ 26.)

       22.     In or around 2014, Zolotas met with representatives of Petitioner to discuss the

restructuring of the liabilities owed to it by Zolotas and his related entities, including the amounts

due under the Loan Agreement, the Grandunion Guarantee, and the Zolotas Guarantee.
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(Id. ¶ 27.) Following that meeting, Zolotas pledged a number of further securities as collateral

securing his indebtedness to Petitioner. (Id.)

       23.      In or around January 2016, Zolotas submitted a further proposal for restructuring

his and his entities’ debt obligations to Petitioner; however, the parties ultimately did not reach a

resolution and the liabilities under the Loan Agreement, the Grandunion Guarantee, and the

Zolotas Guarantee remain outstanding. (Id. ¶ 28.)

       C.       THE ENGLISH PROCEEDING

       24.      The English Proceeding was commenced on February 27, 2019, after the English

Court issued and sealed Petitioner’s Claim Form CL-2019-000129 against the English

Defendants. (Id. ¶ 29 & Ex. 15.)

       25.      On June 6, 2019, Petitioner filed a Claim Form and Particulars of Claim against

Grand Anemi, Grandunion, and Zolotas with the English Court. (Id. ¶ 30 & Ex. 16.)

       26.      As set out in the Claim Form and Particulars of Claim, Petitioner has asserted

claims against the English Defendants for their numerous breaches of the Loan Agreement, the

Grandunion Guarantee, and the Zolotas Guarantee. (Id. ¶ 31 & Exs. 15-16.)             In particular,

Petitioner has alleged that the English Defendants breached the relevant agreements by failing to

make payments of all overdue loan principal and interest.

       27.      Petitioner also has alleged, among other things, that the English Defendants

breached the relevant agreements by dissipating assets and failing to provide notice of the Event

of Default that occurred by virtue of their dissipation of assets. (Id. ¶ 31 & Ex. 16 at ¶¶ 22.2-

22.4, 26.)

       28.      Consistent with English law, Petitioner also expressly has reserved the right to

amend and/or amplify its case upon disclosure in the English Proceeding and/or upon the

discovery of any new material relating to the breach of the Loan Agreement, the Grandunion
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Guarantee, and the Zolotas Guarantee. (Id. ¶ 31 & Ex. 16 at ¶ 15.)

       29.     Petitioner is seeking to recover damages in the amount of at least

USD 85,557,894.70, consisting of USD 53,718,984.79 in principal and USD 31,838,909.91

in accrued interest as of June 3, 2019. (Id. ¶ 32 & Ex. 16 at ¶ 27.)

       30.     On June 7, 2019, Petitioner served the Claim Form, Particulars of Claim and all

other necessary documents (the “Initiating Documents”) on Grand Anemi’s and Grandunion’s

irrevocably appointed London service agent, HFW Nominees Limited (“HFW”). (Id. ¶ 33.)

       31.     On June 11, 2019, HFW purported to resign from its appointment as Grand

Anemi’s and Grandunion’s designated London service agent. (Id. ¶ 34.)

       32.     On June 26, 2019, Petitioner lodged an application to the English Court seeking,

among other things, a declaration from the English Court that it properly had served the

English Defendants with all documents required to be served to institute the English Proceeding

(the “Service Application”). (Id. ¶ 35.)

       33.     On July 18, 2019, counsel for Petitioner appeared before Mr. Justice Jacobs of the

English Court to argue the Service Application. (Id. ¶ 36) On July 18, 2019, Justice Jacobs

granted the Service Application, finding, among other things, that: (i) Petitioner successfully

served the Initiating Documents on Grand Anemi and Grandunion via HFW; (ii) Petitioner is

permitted to serve the Initiating Documents on Zolotas in Greece via Zolotas’ designated service

agent, Mr. George Livanos; and (iii) Zolotas is a necessary and proper party to the English

Proceeding. (Id. ¶ 36 & Ex. 17.)

       34.     On September 13, 2019, the Foreign Process Section of the English Court

approved Initiating Documents against Zolotas. (Id. ¶ 37.) Consistent with the English Court’s

direction, on September 19, 2019, Petitioner posted the Initiating Documents to Zolotas’

designated service agent, Mr. Livanos. (Id.)
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       35.     Between September 26, 2019 and October 7, 2019, Petitioner attempted service

on Mr. Livanos six separate times, but Mr. Livanos refused to accept service of the Initiating

Documents on behalf of Zolotas. (Id. ¶ 38.) Petitioner lodged an application with the English

Court seeking a declaration that: (i) steps already taken to serve the Initiating Documents on

Zolotas amounts to valid service under English Law or, in the alternative (ii) service on Zolotas

can be dispensed with altogether. (Id.)

        36.    A hearing on the merits in the English Proceeding took place on March 13, 2020.

By Order dated March 13, 2020 (which was amended on 30 March 2020 under the “slip rule” to

include wording required under English Civil Procedure Rule 6.15) the Court declared that

service upon Zolotas had been validly effected. (Id. ¶ 39.) In addition, Jacobs J granted Piraeus

permission to serve Zolotas via alternative means pursuant to CPR 6.15, if so advised. (Id.)

        37.    A Case Management Conference (the “CMC”) in the English Proceeding is fixed

for 26 June 2020. The CMC will determine the dates for completing the various preparatory

stages leading up to trial. These include, in particular, dates for disclosure of documents, the

filing of witness statements, and the date of the trial. (Id. ¶ 40.) Importantly, the parties are

allowed to submit evidence in support of their claims until several months prior to the hearing

on the merits. (Id.)

       D.      DOCUMENTS IN THE POSSESSION,
               CUSTODY, AND CONTROL OF RESPONDENTS

       38.     As set forth below, upon information and belief, Respondents are in possession,

custody, and control of discrete categories of documents relating to the claims advanced by

Petitioner in the English Proceedings, specifically with respect to the English Defendants’

breaches of their undertakings regarding the use of loan proceeds and the dissipation of assets by

Grand Anemi, Grandunion, and Zolotas as they specifically agreed they would not do. (Id. ¶ 41.)

       39.     For example:
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              a.     BNYM acted as an intermediary bank for wire transfers that were

                     originated by Zolotas from an account at Marfin Egnatia on September 14,

                     2009; November 17, 2009; July 6, 2010; July 9, 2010; July 15, 2010; July

                     18, 2010; July 23, 2010; July 30, 2010; April 29, 2011; May 18, 2011; and

                     May 20, 2011. It also acted as the beneficiary bank for one of the wire

                     transfers on November 17, 2009.

              b.     Citibank acted as the beneficiary bank for a wire transfer that was

                     originated by Zolotas from an account at Marfin Egnatia on July 30, 2010.

              c.     HSBC acted as an intermediary bank for a wire transfer that was

                     originated by Zolotas from an account at Marfin Egnatia on May 20, 2011.

              d.     JP Morgan acted as the beneficiary bank for wire transfers that were

                     originated by Zolotas from an account at Marfin Egnatia on September 14,

                     2009; November 17, 2009; July 6, 2010; July 16, 2010; July 18, 2010;

                     April 29, 2011; May 18, 2011; and May 20, 2011.

(Id. ¶¶ 42-45 & Exs. 18-21.)

       40.    Moreover, documents submitted in a New York state court action styled

TransAsia Commodities Investment Ltd. v. Zolotas, et al. (Index No. 150312/2018) (the “New

York Action”) amplify Zolotas’ relevant connections to Citibank. (Id. ¶ 46.) In the New York

Action, plaintiff TransAsia Commodities Investment Ltd. (“TransAsia”) seeks to enforce a USD

22 million judgment obtained by TransAsia against, inter alia, Zolotas in December 2017 (the

“Judgment”). Zolotas and two entities controlled by Zolotas⸺Aurora Properties (USA) LLC

(“Aurora USA”) and Aurora Properties, Inc. (“Aurora Marshall”)⸺are named as defendants in

the New York Action. (Id.)

       41.    In the New York Action, TransAsia seeks information relating to a turnover of a
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condominium unit owned by Aurora USA to satisfy a portion of the Judgment. (Id. ¶ 47.)

       42.     In support of its application, TransAsia submitted evidence, in the form of bank

account statements and transfer forms, demonstrating Zolotas’ frequent use of Citibank accounts

for purposes of moving and transferring his assets. For example, Aurora USA’s bank account

record show that Zolotas: (i) transferred approximately USD 871,686.64 from Aurora USA’s

Citibank account to a joint Citibank account held by Zolotas and his wife; (ii) made over USD

119,906 in withdrawals from Aurora USA’s Citibank account between 2010 and 2015; and (iii)

credited approximately USD 2.6 million in Aurora USA’s bank account. (Id. ¶ 46 & Exs. 22-

24.)

       43.     These transfers directly correspond to allegations made by Petitioner in the

English Proceeding. There, Petitioner alleges that each of the English Defendants breached their

respective loan agreement and guarantees by dissipating assets and failing to provide notice of

the Event of Default that occurred by virtue of their dissipation of assets. (Id. ¶ 49 & Ex. 16 at

¶¶ 22.2-22.4, 26.) Specifically, the English Defendants breached the relevant agreements by

failing to obtain Petitioner’s prior written consent for a May 28, 2010 transfer of Zolotas’

ownership in 500 shares in Aurora Marshall to Zolotas’ wife. (Id. & Ex. 16 at ¶ 26.)

       44.     In light of their roles as intermediary banks and/or beneficiary banks for the

foregoing transactions, Respondents likely are to have possession, custody, and control of

documents concerning the use of the loan proceeds and dissipation of assets, which will aid the

English Court in resolving Petitioner’s claims that the English Defendants breached the

Loan Agreement, the Grandunion Guarantee, and the Zolotas Guarantee. (Id. at ¶ 50.)

II.    THE REQUIREMENTS OF SECTION 1782 ARE SATISFIED

       45.     “Section 1782 is the product of congressional efforts, over the span of nearly

150 years, to provide federal-court assistance in gathering evidence for use in foreign tribunals.”
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Intel Corp. v. Advanced Micro Devices, Inc., 542 U.S. 241, 247 (2004); see also

Application of Gianoli Aldunate, 3 F.3d 54, 57 (2d Cir. 1993) (“The primary intent of the

amendments [to § 1782] was to ‘clarif[y] and liberalize . . . existing U.S. procedures for assisting

foreign and international tribunals and litigants in obtaining oral and documentary evidence in

the United States’”) (quoting S. Rep. No. 88-1580, at 7, reprinted in 1964 U.S.C.C.A.N. 3782).

       46.     Section 1782 provides, in relevant part, that:

       The district court of the district in which a person resides or is found may order
       him to give his testimony or statement or to produce a document or other thing for
       use in a proceeding in a foreign or international tribunal . . . The order may be
       made pursuant to a letter rogatory issued, or request made, by a foreign or
       international tribunal or upon the application of any interested person . . . . To the
       extent that the order does not prescribe otherwise, the testimony or statement shall
       be taken, and the document or other thing produced, in accordance with the
       Federal Rules of Civil Procedure.

28 U.S.C. § 1782(a).

       47.     Accordingly, a district court is authorized to grant a Section 1782 petition and

order discovery if three requirements are met: “(1) the person from whom discovery is sought

resides (or is found) in the district of the district court to which the application is made,

(2) the discovery is for use in a foreign proceeding before a foreign tribunal, and

(3) the application is made by a foreign or international tribunal or any interested person.”

Brandi-Dohrn v. IKB Deutsche Industriebank AG, 673 F.3d 76, 80 (2d Cir. 2012); see also

In re Accent Delight Int’l Ltd., 869 F.3d 121, 128 (2d Cir. 2017); In re Esses, 101 F.3d 873, 875

(2d Cir. 1996). Moreover, courts in this district have held that “it is neither uncommon nor

improper for district courts to grant applications made pursuant to [Section 1782] ex parte.”

Gushlak v. Gushlak, 486 Fed. Appx. 215, 217 (2d Cir. 2012); accord In re O’Keeffe,

650 F. App’x 83, 85 (2d Cir. 2016) (“We also reject Adelson’s suggestion that it was

impermissible or improper for O’Keeffe to bring her application ex parte.”) Here, all three of the

statutory requirements are satisfied.
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           48.    First, each of the Respondents is a New York entity and/or has its principal place

    of business in New York, New York. (Hewetson Decl. ¶ 4 & Exs. 1-4.) More specifically:

                  a.      BNYM is a New York corporation, with its principal place of business

                          located at 240 Greenwich Street, New York, NY 10286. (Id. ¶ 4(a) & Ex.

                          1.)1

                  b.      Citibank is a New York corporation, with its principal place of business

                          located at 388 Greenwich Street, New York, NY 10013. (Id. ¶ 4(b) & Ex.

                          2.)2

                  c.      HSBC is a Delaware corporation, with its principal place of business

                          located at 452 Fifth Avenue, New York, NY (Id. ¶ 4(c) & Ex. 3.).3

                  d.      JP Morgan is a Texas corporation, with its principal place of business

                          located at 4 New York Plaza, New York, NY 10004. (Id. ¶ 4(d) & Ex. 4.)4

           49.    Accordingly, each of the Respondents is found in this district for purposes of

    Section 1782. See In re Iraq Telecom Ltd., No. 18-MC-458 (LGS) (OTW), 2019 WL 3798059,

    at *3 (S.D.N.Y. Aug. 13, 2019) (granting application for Section 1782 seeking production of

    documents from, inter alia, Citibank, BNYM, and HSBC, and finding such corporations

    “conduct business in this District”).       Moreover, Petitioner is seeking the production of

    documents that are located within this district.

          50.     Second, the discovery sought is “for use” in the English Proceeding, which is a

“proceeding before a foreign or international tribunal.” (Hewetson Decl. ¶ 1) Proceedings

1 See Ex. 1, Contact, BNY MELLON, https://www.bnymellon.com/us/en/contact.jsp (last visited May 6, 2020).
2 See Ex. 2, Citibank, N.A. SEC, https://www.sec.gov/cgi-bin/browse-
edgar?action=getcompany&CIK=0000036684&owner=exclude&count=40&hidefilings=0 (last visited May 6,
2020).
3 See Ex. 3, HSBC HOLDINGS PLC & HSBC BANK USA, NATIONAL ASSOCIATION, U.S. RESOLUTION PLANS ¶ 3.2.3.3

(2015), https://www.fdic.gov/regulations/reform/resplans/plans/hsbc-idi-1512.pdf.
4 See Ex. 4, JP Morgan Chase Bank, N.A., SEC

https://www.sec.gov/Archives/edgar/data/1327421/000001961716001021/0000019617-16-001021-index.htm (last
visited May 6, 2020).
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before the English Court, like the English Proceeding, have been recognized expressly as

sufficient to satisfy the “international tribunal” prong of the Section 1782 test. See, e.g., La

Suisse, Societe d’Assurances Sur La Vie v. Kraus, 62 F. Supp. 3d 358, 361-62 (S.D.N.Y. 2014).

       51.     Significantly, the Second Circuit has ruled that “discovery sought pursuant to

[Section 1782] need not be necessary for a party to prevail in the foreign proceeding” but rather

must merely be “something that will be employed with some advantage or serve some use in the

proceeding.”   Mees v. Buiter, 793 F.3d 291, 298 (2d Cir. 2015).           Moreover, “the foreign

proceeding need not be pending, so long as it is ‘within reasonable contemplation.’” Id. at 299

(quoting Intel, 542 U.S. at 259). Here, the requested discovery will unquestionably serve some

use in the English Proceeding (which already has been commenced and is not merely

“contemplated”), namely supporting Petitioner’s allegations that the English Defendants

breached the Loan Agreement, the Grandunion Guarantee, and the Zolotas Guarantee relating to

the use of the loan proceeds and the non-dissipation of assets. Hewetson Decl. ¶ 5; see also In re

Application Pursuant to 28 U.S.C. Section 1782 for an Order Permitting Christen Sveaas to

Take Discovery from Dominique Levy, L & M Galleries & other non-participants for use in

Actions Pending in the Norway, 249 F.R.D. 96, 99, 107 (S.D.N.Y. 2008) (granting application

for Section 1782 discovery for use in foreign litigation involving claim for breach of contract).

       52.     Evidence of any transfer of assets by Respondents through bank account records

goes directly to the Petitioner’s principal allegations in the English Proceeding.

       53.     Third, Petitioner is an “interested person” within the meaning of 28 U.S.C. §

1782 because it is the claimant in the English Proceeding. Hewetson Decl. ¶ 8; see also

Intel, 542 U.S. at 256 (explaining that there is “[n]o doubt litigants are included among, and may

be the most common example of, the ‘interested person[s]’ who may invoke [Section 1782]”);

Lancaster Factoring Co. v. Mangone, 90 F.3d 38, 42 (2d Cir. 1996) (“The legislative history to §
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1782 makes plain that ‘interested person’ includes ‘a party to the foreign ... litigation.’”)

(quoting S. Rep. No. 88-1580, at 8, reprinted in 1964 U.S.C.C.A.N. at 3789).

       54.     Accordingly, all three of the statutory requirements are satisfied.

III.   THE INTEL FACTORS WEIGH IN FAVOR OF GRANTING THE PETITION

       55.     The Supreme Court has identified four discretionary factors that a district court

should consider when ruling on a Section 1782 application: (i) whether “the person from whom

discovery is sought is a participant in the foreign proceeding”; (ii) “the nature of the

foreign tribunal, the character of the proceedings underway abroad, and the receptivity of the

foreign . . . court or agency abroad to U.S. federal-court judicial assistance”; (iii) “whether the

[Section 1782] request conceals an attempt to circumvent foreign proof-gathering restrictions;

and (iv) whether the request is “unduly intrusive or burdensome.” Intel, 542 U.S at 264-65;

see also In re Catalyst Managerial Servs., DMCC, 680 F. App’x 37, 38 (2d Cir. 2017)

(summary order); Brandi-Dohrn v. IKB Deutsche Industriebank AG, 673 F.3d 76, 80-81

(2d Cir. 2012). Here, all four of the Intel factors weigh in favor of granting the Petition.

       56.     First, none of the Respondents is a participant in the English Proceeding.

Hewetson Decl. ¶ 6; cf. Intel, 542 U.S. at 264 (“[W]hen the person from whom discovery is

sought is a participant in the foreign proceeding . . ., the need for [Section 1782] aid generally is

not as apparent as it ordinarily is when evidence is sought from a nonparticipant in the

matter arising abroad.”)

       57.     Second, there is no indication, or reason to believe, that the English Court

would be unreceptive to U.S. federal-court judicial assistance by way of Section 1782 discovery.

Hewetson Decl. ¶ 7; see also In re Application of 000 Promneftstroy for an Order to Conduct

Discovery for use in a Foreign Proceeding, 134 F. Supp. 3d 789, 792 (S.D.N.Y. 2015)

(“The Court of Appeals for the Second Circuit has instructed district courts to ‘consider only
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authoritative proof that a foreign tribunal would reject evidence obtained with the aid

of [§] 1782.’”)) (quoting Euromepa S.A. v. R. Esmerian, Inc., 51 F.3d 1095, 1100 (2d Cir.1995)).

Indeed, courts in this district routinely grant applications for Section 1782 discovery

in connection with proceedings in England. See, e.g., In re Catalyst Managerial Servs., DMCC,

680 F. App’x at 38, 41; In re Children’s Inv. Fund Found. (UK), 363 F. Supp. 3d 361, 364, 379

(S.D.N.Y. 2019); Kraus, 62 F. Supp. at 361-62.

       58.     Third, this application is not an attempt to circumvent any foreign proof-gathering

restrictions and does not violate any English Court restrictions on gathering evidence.

Hewetson Decl. ¶ 7; see also La Suisse, 62 F. Supp. at 362 (“There is no reason to believe that

the effort to obtain discovery here will circumvent any policies of the U.K. regarding

discovery”). In any event, the Second Circuit has held that there is no rule “requiring parties

seeking discovery under [Section] 1782 to demonstrate that the information would be

discoverable in the foreign jurisdiction.” Marubeni Am. Corp. v. LBA Y.K., 335 F. App’x 95, 98

(2d Cir. 2009) (citing Intel, 542 U.S. at 261); see also Brandi-Dohrn v. IKB Deutsche

Industriebank AG, 673 F.3d 76, 82 (2d Cir. 2012) (“Accordingly, as a district court should not

consider the discoverability of the evidence in the foreign proceeding, it should not consider the

admissibility of evidence in the foreign proceeding in ruling on a section 1782 application”).

       59.     Finally, the document sought by the proposed subpoenas are neither

unduly burdensome nor intrusive. Indeed, the proposed subpoenas have been narrowly tailored

to seek discrete categories of documents that are likely to be in the possession, custody, or

control of Respondents and relevant to the English Proceeding. See generally In re Application

of Hornbeam Corp., 14 MC 424, 2014 WL 8775453, at *2 (S.D.N.Y. Dec. 24, 2014) (“In

response to subpoenas containing similar language, the Banks have searched their

electronic transaction databases for the relevant terms and have timely provided counsel with
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simple electronic spreadsheets listing basic information relating to any wire transfers that satisfy

the search parameters”) Moreover, and in any event, the Respondents will have all their rights

protected under Rule 45 of the Federal Rules of Civil Procedure and may raise any proper

objections each might have.

        60.     Accordingly, all four of the Intel discretionary factors weigh in favor of granting

the Petition.



                                        CONCLUSION

       WHEREFORE, because the Petition complies with the requirements of 28 U.S.C. § 1782

and the discretionary factors weigh in favor of it being granted, Petitioner respectfully moves the

Court to issue an order, in the proposed, or substantially similar, form as Exhibit E: granting the

Petition, authorizing the issuance of the subpoenas in the form attached hereto as Exhibits A-D,

and authorizing Petitioner to issue additional subpoenas for the production of documents as it

reasonably deems appropriate and as is consistent with the Federal Rules of Civil Procedure.



Dated: May 8, 2020


                                            Respectfully submitted,


                                            By: _____/s/______________________
                                                 Thomas Vandenabeele

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